          Case 3:05-cr-00395-CRB    Document 147   Filed 08/09/05   Page 1 of 2



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                            UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA
10
                               SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,           )   No. CR 05-00395 CRB
                                         )
13                     Plaintiff,        )   [PROPOSED] ORDER EXCLUDING TIME
                                         )   FROM JULY 13, 2005 TO JULY 27, 2005
14                     v.                )   UNDER THE SPEEDY TRIAL ACT
                                         )
15   YOUNG JOON YANG, aka Yang,          )
     WU SANG NAH, aka Kang               )
16   SUNG YONG KIM, aka Nam, aka Mr. Kim,)
     HANG JOE YOON, aka Mr. Lee,         )
17   MYONG SU AHN, aka Paula Lee,        )
     NAM YOUNG LEE,                      )
18   FRED A. FRAZIER,                    )
     TRONG DU NGUYEN, aka John           )
19   AHDI M. NASHASHIBI,                 )
     YOUNG JOO LEE,                      )
20   MIN YOUNG BANG,                     )
     IN SEUNG KIM,                       )
21   SEYUN KIM,                          )
     EUGENE YI,                          )
22   CHANG SOO YOUN,                     )
     MO SOOK YANG,                       )
23   KEUN SUNG LEE, aka Kenneth,         )
     MYUNG JIN CHANG,                    )
24   WON SEOK YOO,                       )
     JIMMY GONG YAN LEE,                 )
25   AESUN KIM, aka Mami,                )
     HYEON J. PARK,                      )
26   ANTHONY GAR LAU,                    )
     MI YOUNG SIM, aka Jackie,           )
27   KUM PAE YI,                         )
     HAN LEE,                            )
28   HYE CHA KIM, aka Kelly,             )
     JIN AH KANG,                        )
     YON SUK PANG, aka Nana,             )
                                         )
                       Defendants.       )
     ____________________________________)
     //
            Case 3:05-cr-00395-CRB           Document 147         Filed 08/09/05       Page 2 of 2



 1          On July 13, 2005, defendants in the above-captioned matter appeared, with counsel,
 2   before the Court for an initial appearance.1 Assistant United States Attorney Peter B. Axelrod
 3   and Department of Justice Trial Attorney Andrew Kline appeared on behalf of the United States.
 4          The parties agreed to a continuance of the matter to July 27, 2005, and a corresponding
 5   exclusion of time under the Speedy Trial Act ( 18 U.S.C. § 3161), to provide defense counsel
 6   with sufficient time to review the recently provided discovery (which included pleadings related
 7   to more than 20 material witnesses for the government) and to meet and confer with the
 8   government regarding the production of additional discovery including voluminous wire
 9   intercepts in the Korean language, search warrant documents and reports relating to alien females
10   in immigration proceedings.
11          Accordingly, the Court HEREBY ORDERS that the matter is continued to July 27, 2005,
12   at 2:30 p.m. for a trial setting/status conference before this Court.
13          The Court FURTHER ORDERS that the time from July 13, 2005 to July 27, 2005 is
14   excluded under the Speedy Trial Act, 18 U.S.C. § 3161. For the reasons set forth above, the
15   Court finds that the failure to grant the requested exclusion would deny defense counsel
16   reasonable time necessary for effective preparation taking into account the exercise of due
17   diligence. The Court further finds the exclusion warranted for continuity of counsel and to allow
18   the defense the opportunity to assess the complexity of the case. Thus, the Court finds that the
19   ends of justice served by granting the requested exclusion outweigh the best interest of the public
20   and the defendant in a speedy trial and in the prompt disposition of criminal cases. The Court
21   therefore concludes that this exclusion of time should be made under 18 U.S.C. § 3161(h)(8)(A)
                                                                ISTRIC
22   and (h)(8)(B)(iv).
                                                           TES D      TC
23   IT IS SO ORDERED.                                   TA
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     DATED:
                                                         APPROV
25                                                   MAXINE M. CHESNEY Charles R. Breyer
                                                                                   R NIA




                                                     UNITED STATES DISTRICT JUDGE
26    August 09, 2005                                                      reyer
                                                NO




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27          1                                          g e C
                                                    Jud Sung Yong KIM (both of whom had not been
                All of defendants, except Wu Sang NAH,
                                                 RT




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     arrested) and Keung Sung LEE, were present at the hearing, which was conducted before the
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     Honorable Maxine M. Chesney.                                     C
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